      Case 1-18-41146-cec          Doc 34      Filed 06/25/18      Entered 06/25/18 18:23:36




                                                         June 25, 2018



VIA ECF ONLY
Honorable Carla E. Craig
Eastern District of New York
Conrad B. Duberstein U.S. Courthouse
271-C Cadman Plaza East
Brooklyn, NY 11201-1800

                RE:     Nicola B. Caldeira
                        Chapter 7
                        Case Number: 18-41146

Dear Judge Craig:

This loss mitigation status letter is submitted on behalf of Nicola B. Caldeira (the “Debtor”). As
Nationstar Mortgage LLC as Servicer for Deutsche Bank National Trust Company, as Trustee on Behalf
of HSI Asset Securitization Corporation Trust 2006-HE1 (“Nationstar”) stated in their status report, there
are two obligors on the Note: the Debtor and Louis Caldeira; and there are three mortgagors, the Debtor,
Louis Caldeira, and Neil Caldeira.

On May 18, 2018, an Order was entered directing Nationstar and the Debtor to participate in loss
mitigation with the Debtor. On June 19, 2018, the Debtor, by through and her attorneys submitted the
initial financial package. The initial financial package however did not contain any documentation from
Louis Caldeira, the co-obligor on the Note. Nationstar has reviewed and has requested a Letter of
Explanation as to Louis Caldeira's involvement in the modification review.

On June 20, 2018, this Firm responded to the request with an email stating that Louis Caldeira is the
Debtor’s 90 year old father, who no longer lives in the U.S. Nationstar responded by stating that they
require a signed and dated Letter of Explanation confirming same, along with a recorded quitclaim deed
from Louis Caldeira granting the Debtor the property. Mr. Caleira is traviling to the U.S. this week so he
can complete the same on behalf of the Debtor.

In light of the foregoing, the undersigned respectfully requests that Loss Mitigation be extended so the
Debtor can submit the requested documents and Nationstar can continue reviewing the documents that
were submitted.

                                                         Respectfully yours,
                                                         Law Office of Julio E. Portilla, P.C.
                                                         Attorneys for the Debtor
                                                         By: /s/ Julio E. Portilla, Esq            .
                                                         Julio E. Portilla, Esq. (JP 0690)




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